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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax: 916-498-5710
5    Attorney for Defendant
     JOSE CURIEL
6
7                                  IN THE UNITED STATES DISTRICT COURT
8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                            )   Case No. 2:22-cr-00151-WBS-1
10                                                        )
                      Plaintiff,                          )   STIPULATION FOR MODIFICATION OF
11                                                        )   CONDITIONS OF PRETRIAL RELEASE;
     vs.                                                  )   [PROPOSED] ORDER
12                                                        )
     JOSE CURIEL,                                         )   Hon. Jeremy D. Peterson
13                                                        )
                      Defendant.                          )
14                                                        )
                                                          )
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               The defendant, JOSE CURIEL, by and through his attorney of record, Assistant Federal
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     Defender Megan T. Hopkins, and the UNITED STATES, by and through its attorney of record,
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     Justin Lee, hereby stipulate to and request an order from this Court modifying the conditions of
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     Mr. Curiel’s pretrial release to remove Special Conditions 12 and 13, thereby removing the
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     condition of location monitoring. The requested modification is at the request of Mr. Curiel’s
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     pretrial services officer, with which the parties are in agreement.
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               Mr. Curiel has been on pretrial release in this district since July 2022, on a $4,000
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     unsecured appearance bond. See Dkt. 18. Mr. Curiel is in compliance with all of his conditions
23
     of release. One of those conditions of release is location monitoring. Mr. Curiel is currently
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     subject to home detention: curfew and must remain inside his residence between the hours of
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     9:00 p.m. and 6:00 a.m., except for pre-approved employment; education; religious services;
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     medical, substance abuse, or mental health treatment; attorney visits; court appearances; court
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     ordered obligations; or other activities authorized by the pretrial services officer. Mr. Curiel has
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       Stipulation for Modification of
       Conditions of Pretrial Release; [Proposed] Order
       Case 2:22-cr-00151-WBS Document 49 Filed 01/02/24 Page 2 of 3


1    been in compliance with all of his conditions of release for the past 18 months, and in light of
2    such compliance and pretrial services’ reduced assessment of flight risk and/or danger in this
3    case, the parties request that location monitoring set forth in Special Conditions 12 and 13 be
4    removed.
5
6                                               Respectfully submitted,
     DATED: December 28, 2023                   HEATHER E. WILLIAMS
7                                               Federal Defender
8
                                                /s/ Megan T. Hopkins
9                                               MEGAN T. HOPKINS
                                                Assistant Federal Defender
10                                              Attorney for JOSE CURIEL
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12
     DATED: December 28, 2023                   PHILLIP A. TALBERT
13                                              United States Attorney
14                                              /s/ Justin Lee
15                                              JUSTIN LEE
                                                Assistant United States Attorney
16                                              Attorney for the United States

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      Stipulation for Modification of
      Conditions of Pretrial Release; [Proposed] Order
       Case 2:22-cr-00151-WBS Document 49 Filed 01/02/24 Page 3 of 3


1                                              [PROPOSED] ORDER
2            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT Special
3    Conditions 12 and 13 shall be removed and Jose Curiel shall no longer be subject to a condition
4    of location monitoring. All other conditions of pretrial release shall remain in force.
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6    DATED: December 29, 2023

7                                                        __________________________________
                                                         HON. JEREMY D. PETERSON
8                                                        United States Magistrate Judge
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      Stipulation for Modification of
      Conditions of Pretrial Release; [Proposed] Order
